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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

   Rebekah Badilla, individually and on behalf of all                )
             others similarly situated                               )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.
                                                                     )                          1:24-cv-04710-AMD-RML
  Kenvue Inc. & Johnson & Johnson Consumer, Inc.                     )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kenvue Inc.                       Johnson & Johnson Consumer, Inc.
                                           199 Grandview Road        1 Johnson & Johnson Plaza
                                           Skillman, NJ 08558        New Brunswick, NJ, 08933

                                                         -RKQVRQ -RKQVRQ&RQVXPHU,QF
                                                         *UDQGYLHZ5RDG
                                                         6NLOOPDQ1-

          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Sultzer & Lipari, PLLC                  Levin Sedran & Berman LLP
1,*+*2/'(1%(5*5$62 Jason             P. Sultzer, Esq.            Charles E. Schaffer, Esq.
9$8*+13//&                       85 Civic Center Plz., Ste. 200     510 Walnut St., Suite 500
                                  Poughkeepsie, NY 12601             Philadelphia, PA 19106
0DUOHQH-*ROGHQEHUJ(VT
5LGJH6TXDUH1:UG)OU
:DVKLQJWRQ'&
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna Mahoney
                                                                                CLERK OF COURT


           7/8/2024                                                              s/Kimberly Davis
Date:
                                                                                            Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
